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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF NEW YORK

                                                        )
In re:                                                  )      Chapter 7
                                                        )
          RICONDA MAINTENANCE, INC.,                    )      Case No. 21-42842
                                                        )
                                 Debtor(s).             )
                                                        )

                 NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

          PLEASE TAKE NOTICE that Edward C. Wipper and Elliot M. Smith of the law firm

of Benesch, Friedlander, Coplan & Aronoff LLP (“Benesch”) hereby enter their appearance (the

“Notice of Appearance”) in the above-captioned case as counsel for Incinia Contracting, Inc.

(“Incinia”) pursuant to sections 342 and 1109(b) of Title 11 of the United States Code, 11 U.S.C.

§§101-1532 (as amended, the “Bankruptcy Code”), and Rules 2002, 3017, 9007 and 9010(b) of

the Federal Rules of Bankruptcy Procedure (as amended, the “Bankruptcy Rules”).

          Counsel requests that copies of any and all notices and papers filed or entered in this case

be given to and served upon the following:

          BENESCH, FRIEDLANDER, COPLAN & ARONOFF LLP
          Edward C. Wipper
          17 State Street, Suite 400
          New York, NY 10004
          Telephone: (646) 593-7050
          Email: Ewipper@beneschlaw.com

          BENESCH, FRIEDLANDER, COPLAN & ARONOFF LLP
          Elliot M. Smith
          200 Public Square, Suite 2300
          Cleveland, OH 44114
          Telephone: (216) 363-4500
          Email: Esmith@beneschlaw.com
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       PLEASE TAKE FURTHER NOTICE that this constitutes not only a request for

service of the notices and papers referred to in the Bankruptcy Rules specified above, but also

includes, without limitation, any notice, application, complaint, demand, motion, petition,

pleading, request, order, reply, answer, schedule of assets and liabilities, statement of financial

affairs, plan, or disclosure statement, whether formal or informal, written or oral, and whether

transmitted or conveyed by mail, delivery, telephone, facsimile, email, or otherwise filed or

made with regard to the above-captioned case and all proceedings therein.

       PLEASE TAKE FURTHER NOTICE that this notice of appearance and any

subsequent appearance, pleading, claim, or suit is not intended nor shall be deemed to waive the

rights of Incinia: (1) to have an Article III judge adjudicate in the first instance any case,

proceeding, matter, or controversy as to which a bankruptcy judge may not enter a final order or

judgment consistent with Article III of the United States Constitution; (2) to have final orders in

a non-core case, proceeding, matter, or controversy entered only after an opportunity to object to

proposed findings of fact and conclusions of law and a de novo review by a district court judge;

(3) to trial by jury in any case, proceeding, matter, or controversy so triable; (4) to have the

reference withdrawn by the United States District Court in any case, proceeding, matter, or

controversy subject to mandatory or discretionary withdrawal; or (5) any other rights, claims,

actions, defenses, setoffs, or recoupments to which Incinia is or may be entitled under

agreements, in law, or in equity, all of which rights, claims, actions, defenses, setoffs, and

recoupments expressly are hereby reserved.



                                    [Signature page to follow]



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Dated: February 4, 2022                  BENESCH, FRIEDLANDER, COPLAN
                                           & ARONOFF LLP

                                           /s/ Elliot M. Smith   _

                                         Edward C. Wipper
                                         17 State Street, Suite 400
                                         New York, NY 10004
                                         Telephone: (646) 593-7050
                                         Email: Ewipper@beneschlaw.com

                                         -and-

                                         Elliot M. Smith
                                         200 Public Square, Suite 2300
                                         Cleveland, OH 44114
                                         Telephone: (216) 363-4500
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                                         Counsel for Incinia Contracting, Inc.




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                                  CERTIFICATE OF SERVICE


           I hereby certify and affirm that on February 4, 2022, a true and correct copy of the

foregoing Notice of Appearance was filed electronically. Notice of this filing will be sent by

operation of the Court’s electronic filing system to all parties indicated on the electronic filing

receipt.


Dated: February 4, 2022

                                                 Respectfully Submitted,

                                                 BENESCH, FRIEDLANDER, COPLAN
                                                   & ARONOFF LLP

                                                  /s/ Elliot M. Smith    _

                                                 Edward C. Wipper
                                                 17 State Street, Suite 400
                                                 New York, NY 10004
                                                 Telephone: (646) 593-7050
                                                 Email: Ewipper@beneschlaw.com

                                                 -and-

                                                 Elliot M. Smith
                                                 200 Public Square, Suite 2300
                                                 Cleveland, OH 44114
                                                 Telephone: (216) 363-4500
                                                 Email: Esmith@beneschlaw.com



                                                 Counsel for Incinia Contracting, Inc.
